            Case 2:20-cv-00242-FVS                  ECF No. 23           filed 06/01/21    PageID.731 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action

                                                                                                                        FILED IN THE
                                         UNITED STATES DISTRICT COURT                                               U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF WASHINGTON
                                                                  for the_
                                                     Eastern District of Washington                            Jun 01, 2021
                           MARIA J.,                                                                               SEAN F. MCAVOY, CLERK


                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:20-CV-00242-FVS
                                                                     )
     ANDREW M. SAUL, Commissioner of the Social
             Security Administration,                                )

                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Stipulated Motion for Remand (ECF No. 21) is GRANTED. The Commissioner’s final decision is reversed and
’
              remanded for further proceedings pursuant to sentence four of 42 U.S.C. § 405(g).
              Plaintiff’s Motion for Summary Judgment, (ECF No. 13) is DENIED as moot.
              Judgment is entered in favor of Plaintiff.


This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge             Fred Van Sickle                                                  on a stipulated motion for
      Remand (ECF No. 21)


Date: 06/01/2021                                                             CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Allison Yates
                                                                                          (By) Deputy Clerk

                                                                             Allison Yates
